      Case 1-19-45839-nhl        Doc 11     Filed 11/11/19      Entered 11/12/19 08:55:04




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re
                                                       Chapter 7
 Joseph Coxall,
                                     Case No. 19-45839-nhl
                       Debtor.
           STIPULATION EXTENDING TIME TO OBJECT TO DEBTOR’S
       DISCHARGE AND ANY CLAIMED EXEMPTIONS, AND FOR DISMISSAL

       IT IS HEREBY stipulated and agreed by and between the undersigned that the time

periods for the Trustee, creditors, and the United States Trustee to object to the discharge of the

Debtor, for objection to any claimed exemptions of property of the estate, and for dismissal of

the case are hereby extended until March 6, 2020.

  Dated: Brooklyn, New York             ALAN NISSELSON, Chapter 7 Trustee
         November 6, 2019
                                       By: /s/ Alan Nisselson
                                       Alan Nisselson (anisselson@windelsmarx.com)
                                       Windels Marx Lane & Mittendorf, LLP
                                       156 West 56th Street
                                       New York, New York 10019
                                       Tel: (212) 237-1000
  Dated: Brooklyn, New York            THE LAW OFFICE OF SENI POPAT, P.C.
         November 6, 2019              Attorneys for the Debtor

                                       By: /s/ Seni Popat
                                       Seni Popat ( sp@splawpc.com)
                                       Law Office of Seni Popat, P.C.
                                       260-14 Hillside Avenue, Ground Floor
                                       Floral Park, NY 11004
                                       Tel.: (718) 343-8888

SO ORDERED:




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 Dated: November 11, 2019                                            Nancy Hershey Lord
        Brooklyn, New York                                      United States Bankruptcy Judge
